Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 1 of 16




              EXHIBIT 8
   Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 2 of 16




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS




                                                )
IN RE PHARMACEUTICAL INDUSTRY                   )    MDL No. 1456
AVERAGE WHOLESALE PRICE                         )    Civil Action No. 01-12257-PBS
LITIGATION                                      )    Subcategory Case No. 03-10643
                                                )
                                                )
THIS DOCUMENT RELATES TO:                       )
                                                )
The City of New York v. Abbott Labs., et al.    )
(S.D.N.Y. No. 04-CV-06054)                      )    Judge Patti B. Saris
                                                )
County of Nassau v. Abbott Labs., et al.        )    Magistrate Judge Marianne B. Bowler
(E.D.N.Y. No. 04-CV-05126) )                    )
                                                )
and other cases listed on the following page    )
                                                )




                             AFFIDAVIT OF ERIC M. GAIER, Ph.D



                                           October 5, 2009
   Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 3 of 16
Affidavit of Eric M. Gaier, PhD




THIS DOCUMENT RELATES TO:                       )                                                    )
                                                )                                                    )
County of Westchester v. Abbott Labs., et al.   )   County of Herkimer v. Abbott Labs., et al.       )
(S.D.N.Y. No. 03-CV-6178)                       )   (N.D.N.Y. No. 05-CV-00415)                       )
County of Rockland v. Abbott Labs., et al.      )   County of Oneida v. Abbott Labs., et al.         )
(S.D.N.Y. No. 03-CV-7055)                       )   (N.D.N.Y. No. 05-CV-00489)                       )
County of Putnam v. Abbott Labs., et al.        )   County of Fulton v. Abbott Labs., et al.         )
(S.D.N.Y. No. 05-CV-04740)                      )   (N.D.N.Y. No. 05-CV-00519)                       )
County of Dutchess v. Abbott Labs., et al.      )   County of St. Lawrence v. Abbott Labs., et al.   )
(S.D.N.Y. No. 05-CV-06458)                      )   (N.D.N.Y. No. 05-CV-00479)                       )
County of Orange v. Abbott Labs., et al.        )   County of Jefferson v. Abbott Labs., et al.      )
(S.D.N.Y. Case No. 07-CV-2777)                  )   (N.D.N.Y. No. 05-CV-00715)                       )
County of Washington v. Abbott Labs., et al.    )   County of Lewis v. Abbott Labs., et al.          )
(N.D.N.Y. No. 05-CV-00408)                      )   (N.D.N.Y. No. 05-CV-00839)                       )
County of Rensselaer v. Abbott Labs., et al.    )   County of Chautauqua v. Abbott Labs., et al.     )
(N.D.N.Y. No. 05-CV-00422)                      )   (W.D.N.Y. No. 05-CV-06204)                       )
County of Albany v. Abbott Labs., et al         )   County of Allegany v. Abbott Labs., et al.       )
(N.D.N.Y. No. 05-CV-00425)                      )   (W.D.N.Y. No. 05-CV-06231)                       )
County of Warren v. Abbott Labs., et al.        )   County of Cattaraugus v. Abbott Labs., et al.    )
(N.D.N.Y. No. 05-CV-00468)                      )   (W.D.N.Y. No. 05-CV-06242)                       )
County of Greene v. Abbott Labs., et al.        )   County of Genesee v. Abbott Labs., et al.        )
(N.D.N.Y. No. 05-CV-00474)                      )   (W.D.N.Y. No. 05-CV-06206)                       )
County of Saratoga v. Abbott Labs., et al.      )   County of Wayne v. Abbott Labs., et al.          )
(N.D.N.Y. No. 05-CV-00478)                      )   (W.D.N.Y. No. 05-CV-06138)                       )
County of Columbia v. Abbott Labs., et al.      )   County of Monroe v. Abbott Labs., et al.         )
(N.D.N.Y. No. 05-CV-00867)                      )   (W.D.N.Y. No. 05-CV-06148)                       )
Essex County v. Abbott Labs., et al.            )   County of Yates v. Abbott Labs., et al.          )
(N.D.N.Y. No. 05-CV-00878)                      )   (W.D.N.Y. No. 05-CV-06172)                       )
County of Chenango v. Abbott Labs., et al.      )   County of Niagara v. Abbott Labs., et al.        )
(N.D.N.Y. No. 05-CV-00354)                      )   (W.D.N.Y. No. 05-CV-06296)                       )
County of Broome v. Abbott Labs., et al.        )   County of Seneca v. Abbott Labs., et al.         )
(N.D.N.Y. No. 05-CV-00456)                      )   (W.D.N.Y. No. 05-CV-06370)                       )
County of Onondaga v. Abbott Labs., et al.      )   County of Orleans v. Abbott Labs., et al.        )
(N.D.N.Y. No. 05-CV-00088)                      )   (W.D.N.Y. No. 05-CV-06371)                       )
County of Tompkins v. Abbott Labs., et al.      )   County of Ontario v. Abbott Labs., et al.        )
(N.D.N.Y. No. 05-CV-00397)                      )   (W.D.N.Y. No. 05-CV-06373)                       )
County of Cayuga v. Abbott Labs., et al.        )   County of Schuyler v. Abbott Labs., et al.       )
(N.D.N.Y. No. 05-CV-00423)                      )   (W.D.N.Y. No. 05-CV-06387)                       )
County of Madison v. Abbott Labs., et al.       )   County of Chemung v. Abbott Labs., et al.        )
(N.D.N.Y. No. 05-CV-00714)                      )   (W.D.N.Y. No. 05-CV-06744)                       )
County of Cortland v. Abbott Labs., et al.      )   County of Steuben v. Abbott Labs., et al.        )
(N.D.N.Y. No. 05-CV-00881)                      )   (W.D.N.Y. Case No. 05-CV-6223)                   )
County of Ulster v. Abbott Labs., et al.        )   County of Wyoming v. Abbott Labs., et al.        )
(N.D.N.Y. Case No. 06-CV-0123)                  )   (W.D.N.Y. Case No. 05-CV-6379)                   )

City of Washington )
                              :ss:
District of Columbia )
          Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 4 of 16
      Affidavit of Eric M. Gaier, PhD




(1)   Eric M. Gaier, Ph.D., being duly sworn, deposes and says:

(2)   I am a Partner and founding Member of Bates White, LLC (“Bates White”), a professional services
      firm that performs economic and statistical analysis in a variety of industries and forums. I specialize
      in performing economic and statistical analysis of pricing for antitrust, fraud, and other matters and
      investigating economic questions associated with class certification.

(3)   I have been retained as a consultant and expert on matters of pricing policy in a variety of industries,
      including health care and pharmaceutical pricing and reimbursement. For example, in District of
      Columbia v. CVS Corporation, et al., I offered testimony on behalf of the government of the District
      of Columbia concerning the effect on pricing and service quality of an acquisition of certain
      independent pharmacies by CVS Corporation. Before this Court, in In Re Pharmaceutical Industry
      Average Wholesale Price Litigation, I offered deposition and trial testimony concerning the effect of
      alleged fraudulent pricing practices of certain pharmaceutical manufacturers on Medicare and private
      payor payments for prescription drugs. In State of Alabama v. AstraZeneca Pharmaceuticals LP, I
      offered trial testimony concerning the effect of alleged fraudulent pricing practices of AstraZeneca on
      Alabama Medicaid Agency’s payments for prescription drugs. I also offered deposition testimony in
      The Commonwealth of Massachusetts v. Mylan Laboratories, et al. concerning the effect of alleged
      fraudulent pricing practices of several generic drug manufacturers on the Massachusetts Medicaid
      program’s (MassHealth) payments for prescription drugs. More recently, I offered three affidavits and
      deposition testimony in support of Defendant Glaxo SmithKline in the above captioned New York
      County cases. I have also consulted and testified concerning other health-care and non-health-care
      industry matters. A copy of my curriculum vitae is attached as Attachment A.

(4)   I submit this affidavit in support of Defendant Merck & Co., Inc.’s (Merck) Opposition to Plaintiffs’
      Motion to Compel Discovery in the above-captioned New York County cases. In particular, I have
      been asked to evaluate the Declaration of Harris L. Devor on behalf of Plaintiffs in this matter.1

(5)   Mr. Devor’s declaration summarizes his calculations of “spread” between AMP and AWP for Merck
      drugs.2 Mr. Devor’s methodology utilizes quarterly AMP data previously produced by Merck, but
      calculates the percentage mark-up to the prevailing AWP, or “spread,” on a daily basis. From these
      daily spread calculations, Mr. Devor computes an average annual “spread” for each year and NDC
      and compares the result to a 30% benchmark. Mr. Devor identifies 130 NDCs (belonging to 15 drug
      families) that have an average annual AWP to AMP “spread” above 30% for at least one year. In his
      supporting tables, Mr. Devor reports 387 NDC-year combinations for which he finds AWP to AMP

      1
          Declaration of Harris L. Devor, The City of New York, et al. v. Abbott Laboratories, et al., 01-12257-PBS (D. Mass.
          September 4, 2009).
      2
          Throughout this affidavit, I will refer to Mr. Devor’s AWP to AMP spread calculations interchangeably as Devor spread
          or “spread,” in order to distinguish it from the spread adopted by this Court in the MDL as the difference between AWP
          and average sales price and the spread calculations Plaintiffs have previously offered to this Court that measure the
          difference between AWP and average acquisition cost.



                                                                                                                         Page 1
          Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 5 of 16
      Affidavit of Eric M. Gaier, PhD




      “spreads” above 30%. Based on Mr. Devor’s analysis, Plaintiffs assert that “spreads” are
      “consistently over 30% on an annual basis” for these NDCs.3

(6)   As shown in Figure 1 below, I replicated Mr. Devor’s methodology for all NDCs and years
      (hereinafter “NDC-years”) reported by Mr. Devor and determined that nearly one-half of all relevant
      New York Medicaid expenditures for the 130 NDCs are associated with average NDC-year “spreads”
      less than 30%.4 Moreover, over three quarters of relevant New York Medicaid expenditures for these
      NDCs are associated with NDC-years having average annual “spreads” less than 32%.5 In addition,
      only four NDC-years, having combined total Medicaid expenditures of less than $8,000, have
      “spreads” above 50%. Thus, the results shown in Figure 1 demonstrate that there are no “mega-
      spreads” for the 130 Merck NDCs reported by Mr. Devor.
                                                                            6
      Figure 1: Distribution of Devor “spreads” and expenditures


                                                          New York                Percentage of              Cumulative
            Devor “spread”              NDC-Years   Medicaid expenditures       total expenditures     expenditures percentage
      Less than 30.0%                      518           $556,651,330                  46.1%                     46.1%
      Between 30.0% & 30.5%                 74           $134,241,024                  11.1%                     57.3%
      Between 30.5% & 31.0%                 49           $124,405,923                  10.3%                     67.6%
      Between 31.0% & 31.5%                 54            $42,109,857                   3.5%                     71.0%
      Between 31.5% & 32.0%                 54            $67,794,209                   5.6%                     76.7%
      Between 32.0% & 32.5%                 11            $14,072,334                   1.2%                     77.8%
      Between 32.5% & 33.0%                 19            $19,461,585                   1.6%                     79.4%
      Between 33.0% & 35.0%                 70           $219,063,411                  18.2%                     97.6%
      Between 35.0% & 40.0%                 67            $27,251,339                   2.3%                     99.9%
      Between 40.0% & 50.0%                 16             $1,738,060                   0.1%                    100.0%
      Greater than 50.0%                     4                 $7,831                   0.0%                    100.0%
      Total                                936         $1,206,796,903                 100.0%




(7)   The results reported by Mr. Devor are a misleading representation of overall pricing patterns for
      Merck NDCs. The example of Singulair 10mg tablet (NDC 00006011731), shown in Figure 2,
      illustrates this. Applying Mr. Devor’s methodology to all years of available data, I find that this NDC

      3
          Plaintiffs’ Memorandum in Support of Motion to Compel Discovery from Defendant Merck & Co. Inc, at 2, The City of
          New York, et al. v. Abbott Laboratories, et al., 01-12257-PBS (D. Mass. September 4, 2009).
      4
          Mr. Devor has not provided the backup materials supporting his calculations. Thus, the New York Medicaid expenditure
          statistics presented throughout this affidavit are based on New York Medicaid claims data produced on December 16,
          2008. These statistics differ from those reported by Mr. Devor, however, the differences are small. The source of Mr.
          Devor’s expenditures is not clear.
      5
          AMP is defined as the average manufacturer revenue received from wholesalers for sales to the retail class of trade.
          Thus, the AMP includes discounts offered to wholesalers (such as a 2% prompt pay discount) that may not be passed on
          to retailers and excludes wholesaler mark-ups. As a result AMP understates acquisition costs paid by providers and
          AWP to AMP spreads overstate AWP to acquisition cost spreads.
      6
          Over 96% of the expenditures associated with Devor “spread” above 33% are associated with one drug family: Zocor.



                                                                                                                         Page 2
          Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 6 of 16
      Affidavit of Eric M. Gaier, PhD




      has an AWP to AMP “spread” of less than 30% for every year except 2005, when it exceeds the
      threshold by less than 3 tenths of one percent. However, in his declaration, Mr. Devor presents only
      the “spread” for 2005. Moreover, the average AMP to AWP “spread” calculated across all years of
      available data for this NDC is below 30% and the vast majority of New York Medicaid expenditures
      are associated with time periods having “spreads” below 30%. Having only 1 of 8 years with a
      “spread” only slightly above 30% does not support a conclusion, in my opinion, that “spreads” were
      “consistently over 30% on an annual basis.”7

      Figure 2: Devor “spread” and expenditures for Singulair (NDC 00006011731)


                       Year                              Devor “spread”                   New York Medicaid expenditures
                       1998                                 22.72%                                    $986,539
                       1999                                 23.41%                                  $3,084,193
                       2000                                 27.94%                                  $5,385,336
                       2001                                 29.18%                                  $8,059,210
                       2002                                 29.67%                                 $11,180,105
                       2003                                 29.65%                                 $16,241,439
                       2004                                 29.99%                                 $21,473,469
                       2005                                 30.28%                                 $23,826,535
                  Overall average                           28.00%                                 $90,236,826




(8)   The pattern illustrated in Figure 2 for Singulair is prevalent for many other Merck NDCs. Indeed, for
      the 130 Merck NDCs for which Mr. Devor presents “spreads”, the average number of years for which
      “spreads” exceed 30% is less than 3 years.8 At the same time, these 130 NDCs have, on average,
      more than 7 years of data available to calculate Mr. Devor’s “spreads.” Thus, using Mr. Devor’s own
      methodology, the average Merck NDC reported by Mr. Devor has “spreads” below 30% for the
      majority of the time period for which data are available. Indeed, of the 936 NDC-years at issue for
      these 130 NDCs, 518 NDC-years have “spreads” below 30%. In Attachment B, I report for each NDC
      the number of years for which data are available along with the number of years in which “spreads”
      exceed 30%.

(9)   In addition, I calculate the overall average AMP to AWP “spread” across the entire period of
      available data. I find that these overall average “spreads” are below 30% for 77 out of the 130 NDCs
      reported by Mr. Devor. Of the remaining 53 NDCs, I note that 31 NDCs belong to two drug
      families—Zocor and Pepcid—and 22 NDCs have “spreads” only marginally over 30% or have very
      low expenditures. The overall average “spreads,” expenditures, and number of years with spreads
      exceeding 30% are shown below in Figure 3 for these 22 NDCs. I report overall average “spreads”
      for all 130 NDCs reported by Mr. Devor in Attachment B.

      7
          Plaintiffs’ Memorandum in Support of Motion to Compel Discovery from Defendant Merck & Co. Inc, at 2, The City of
          New York, et al. v. Abbott Laboratories, et al., 01-12257-PBS (D. Mass. September 4, 2009).
      8
          For 130 NDCs, Mr. Devor shows 387 NDC-year combinations with spread great than 30%. Thus, on average there are
          2.9 years with spread over 30% for each NDC.



                                                                                                                     Page 3
            Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 7 of 16
       Affidavit of Eric M. Gaier, PhD




       Figure 3: NDCs with overall “spread” above 30% (excluding Zocor and Pepcid)


                                                                           New York                            Years with Devor-
                                                     Overall AMP to        Medicaid           Years of        reported “spreads”
            NDC                 Drug name            AWP “spread”        expenditures9      available data      exceeding 30%
       00006096031      COZAAR 100MG TABLET              30.1%            $6,166,125              7                    3
       00006096058      COZAAR 100MG TABLET              30.1%            $7,530,673              7                    3
       00006071782      HYZAAR 50-12.5TABLET             30.1%              $112,131              8                    3
       00006026709      MAXALT 10MG TABLET               30.1%            $1,205,659              2                    1
       00006007721      FOSAMAX 35MG TABLET              30.2%                   $56              5                    2
       00006007744      FOSAMAX 35MG TABLET              30.2%                 $921               5                    2
       00006007282      PROSCAR 5MG TABLET               30.2%                $1,085              3                    3
       00006095154      COZAAR 25MG TABLET               30.3%            $4,508,292              9                    5
       00006095158      COZAAR 25MG TABLET               30.3%            $5,240,801              9                    5
       00006003144      FOSAMAX 70MG TABLET              30.3%           $84,392,858              6                    4
       00006001531      PRINIVIL 2.5MG TABLET            30.3%               $46,241              9                    2
       00006001558      PRINIVIL 2.5MG TABLET            30.3%              $263,579              9                    2
       00006026609      MAXALT 5MG TABLET                31.4%                    $0              2                    1
       00006096082      COZAAR 100MG TABLET              31.7%                $4,933              3                    2
       00006095182      COZAAR 25MG TABLET               31.7%                $3,797              3                    3
       00006096054      COZAAR 100MG TABLET              31.8%            $2,583,113              3                    3
       00006074754      HYZAAR 100-25TABLET              31.8%            $1,639,229              3                    3
       00006074782      HYZAAR 100-25TABLET              31.8%               $54,012              3                    2
       00006073061      MEVACOR 10MG TABLET              35.4%              $667,633              9                    6
       00006074528      HYZAAR 100-12.5TABLET            37.5%                    $0              1                    1
       00006074531      HYZAAR 100-12.5TABLET            37.5%                    $0              1                    1
       00006074554      HYZAAR 100-12.5TABLET            37.5%                    $0              1                    1



(10)   At a conceptual level, there are several issues associated with AMP-based “spread” calculations. For
       instance:

           AMP is calculated quarterly whereas the AWP changes on a particular date
           AMPs include discounts to wholesalers, such as a 2% prompt payment discount, which may not
            be passed on to providers, thus understating the provider acquisition cost

           AMP excludes mark-ups sometimes applied by wholesalers in their sales to providers, thus
            understating the provider acquisition cost
           AMPs include a number of transaction types—including rebates, returns, and credits—that may
            not be issued at the time of a sale, leading to idiosyncratic fluctuations10

       9
            As previously mentioned, the expenditures reported here differ from those reported by Mr. Devor by a small magnitude.
            For example, Mr. Devor reports expenditures of $140, $1,132, and $559 for the three Hyzaar 100-12.5 tablets listed in
            Figure 3 while the claims data produced on December 16, 2008 show no expenditures for these NDCs.
       10
            For example, rebates earned on larger past utilization and paid during periods of declining sales volume can generate
            large fluctuations in AMP, especially after an NDC’s patent has expired.



                                                                                                                           Page 4
         Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 8 of 16
Affidavit of Eric M. Gaier, PhD




For these reasons, idiosyncratic changes in AMP may result in transitory periods of “spread”
exceeding 30% that are not supportive of Plaintiffs’ conclusion that “spreads” were “consistently over
30% on an annual basis.” Figure 4 demonstrates this phenomenon for the Singulair 10mg tablet. In
particular, in Figure 4, I compare a 30% mark-up over AMP to the AWP from First DataBank. I find
that the AWP tracks and is generally below the 30% mark-up over AMP, despite transitory periods in
which the AWP slightly exceeds the 30% mark-up over AMP.

Figure 4: FDB AWP and 30% mark-up over AMP for Singulair (NDC 00006011731)


                        $4.00


                        $3.50


                        $3.00

                        $2.50
   Dollars per tablet




                        $2.00


                        $1.50


                        $1.00


                        $0.50


                        $0.00
                                                           Jan-99




                                                                                                                  Jan-01




                                                                                                                                                                        Jan-03
                                Jan-98
                                         May-98
                                                  Sep-98


                                                                     May-99
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                                                                                                                                                                                                                                                Sep-05
                                                                    FDB AWP                                                                  AMP                                                            A MP plus 30%

Note: Vertical lines denote dates of AWP changes (sources: FDB, Merck AMP data)




                                                                                                                                                                                                                                                  Page 5
Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 9 of 16
  Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 10 of 16
Affidavit of Eric M. Gaier, PhD




                                             Attachment A

                                  Curriculum vitae of Eric M. Gaier, Ph.D.




                                                                             Page A-1
    Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 11 of 16
Affidavit of Eric M. Gaier, PhD                                                               Attachment A




Summary of experience
Dr. Eric M. Gaier is a Partner and founding member of Bates White, LLC. Dr. Gaier has significant
experience in the application of economic and statistical analysis to antitrust, civil fraud, and other
economic and financial issues. He specializes in analysis of class certification, pricing, and alleged
anticompetitive conduct including market definition, market power, competitive impact,
countervailing efficiencies, and damages. Dr. Gaier has testified and consulted for government, law
firm, and corporate clients across a variety of industries including retail sales, agriculture,
pharmaceuticals, health care, medical devices, technology, transportation, commercial aviation,
aerospace manufacturing, and defense procurement.


Areas of expertise
    Health care
    Pricing policy
    Antitrust analysis
    Class certification
    Econometric and statistical analysis


Prior testimony within the last four years
    City of New York, et al. v. Abbott Laboratories, et al., U.S. District Court for District of
     Massachusetts (Deposition: January 2009)
    The Commonwealth of Massachusetts v. Mylan Laboratories, et al., U.S. District Court for
     District of Massachusetts (Deposition: April 2008)
    State of Alabama v. Abbott Labs., Inc., et al., Circuit Court of Montgomery County, Alabama
     (Depositions: January 2008, September 2008; Trial Testimony: February 2008).
    Static Control Components, Inc. et al. v. Lexmark International, Inc., U.S. District Court for the
     Eastern District of Kentucky (Deposition: November 2006, Trial Testimony: June 2007).
    In re: Pharmaceutical Industry Average Wholesale Price Litigation, U.S. District Court for
     District of Massachusetts (Depositions: November 2004, April 2006; Trial Testimony: November
     2006).
    District of Columbia v. CVS Corporation, et al., Superior Court of the District of Columbia Civil
     Division (Depositions: May 2004, June 2004).


Professional experience
Prior to joining Bates White, Dr. Gaier served as an Associate of A.T. Kearney. Previously he was a
Research Fellow for the Technology Assessment Program, of the Logistics Management Institute. Dr.
Gaier has served as a Consultant to the Panel on Statistical Methods for Evaluating Defense Systems




                                                                                                 Page A-2
    Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 12 of 16
Affidavit of Eric M. Gaier, PhD                                                          Attachment A




of the National Research Council and as an Instructor with the Department of Economics at Duke
University.


Education
    Ph.D., Economics, Duke University
    M.A., Economics, Duke University
    B.A., Economics, Florida State University


Publications
    “Forecasting and Economic Analysis for Aviation Systems Engineering,” (with Peter F. Kostiuk),
     in Air Transportation Systems Engineering, Progress in Astronautics and Aeronautics Series,
     Volume 193, George L. Donohue, Andres G. Zellweger, Herman Rediess, and Christian Pusch,
     eds. Lexington, MA: American Institute of Aeronautics and Astronautics, 2001.
    “Strategic Information Generation and Transmission: The Evolution of Institutions in Department
     of Defense Operational Testing,” (with Robert C. Marshall), in Statistics Testing, and Defense
     Acquisition—Background Papers, Michael Cohen, Duane L. Steffey, and John E. Rolph, eds.,
     Washington D.C.: National Academy Press, 1999.
    “The Economic Impacts of Air Traffic Congestion,” (with Peter F. Kostiuk and Dou Long) Air
     Traffic Control Quarterly, pp. 123–145, Volume 7, Number 2 1999.
    The ASAC Air Carrier Cost-Benefit Model (with Tara E. Santmire, Alexander P. Edlich, and Earl
     R. Wingrove), NASA Contractor Report 1999–208983, January 1999.
    A Method for Forecasting the Commercial Air Traffic Schedule in the Future (with Dou Long,
     David A. Lee, Jesse P. Johnson and Peter F. Kostiuk), NASA Contractor Report 1999-208987,
     January 1999.
    Modeling Air Traffic Management Technologies with a Queuing Network Model of the National
     Airspace System (with Dou Long, David A. Lee, Jesse Johnson, and Peter F. Kostiuk), NASA
     Contractor Report 1999-208988, January 1999.
    The ASAC Air Carrier Investment Model: Third Generation (with Earl R. Wingrove, Jesse P.
     Johnson, and Tara E. Santmire) NASA Contractor Report 1998-207656, April 1998.
    Air Cargo Operations Cost Database (with Jesse P. Johnson) NASA Contractor Report 1998-
     207655, April 1998.


Professional associations
    American Economic Association
    American Bar Association (Associate Member)
    International Health Economics Association




                                                                                            Page A-3
  Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 13 of 16
Affidavit of Eric M. Gaier, PhD




                                           Attachment B

                        AWP/AMP “spreads” across time using Devor methodology




                                                                                Page B-1
  Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 14 of 16
Affidavit of Eric M. Gaier, PhD                                                             Attachment B




Attachment B: AWP/AMP “spreads” across time using Devor methodology

                                         Overall                                        Devor-reported
                                         Devor     NY Medicaid    Total years with   years with “spreads”
    NDC                       Drug       spread    expenditures   AMP & AWP data          above 30%
00006362835     COSOPT EYE DROPS         29.9%       $6,465,074          5                    2
00006362836     COSOPT EYE DROPS         29.9%      $15,203,411          5                    2
00006096031     COZAAR 100MG TABLET      30.1%       $6,166,125          7                    3
00006096054     COZAAR 100MG TABLET      31.8%       $2,583,113          3                    3
00006096058     COZAAR 100MG TABLET      30.1%       $7,530,673          7                    3
00006096082     COZAAR 100MG TABLET      31.7%           $4,933          3                    2
00006095154     COZAAR 25MG TABLET       30.3%       $4,508,292          9                    5
00006095158     COZAAR 25MG TABLET       30.3%       $5,240,801          9                    5
00006095182     COZAAR 25MG TABLET       31.7%           $3,797          3                    3
00006095231     COZAAR 50MG TABLET       29.8%      $10,792,441          9                    5
00006095254     COZAAR 50MG TABLET       29.9%      $10,056,946          9                    5
00006095258     COZAAR 50MG TABLET       29.9%      $20,817,137          9                    5
00006095282     COZAAR 50MG TABLET       29.9%         $616,139          9                    5
00006057143     CRIXIVAN 200MG CAPSULE   29.0%       $1,100,770          9                    1
00006057465     CRIXIVAN 333MG CAPSULE   29.3%       $1,249,581          7                    1
00006057318     CRIXIVAN 400MG CAPSULE   29.5%          $67,973          7                    1
00006057340     CRIXIVAN 400MG CAPSULE   29.7%       $3,006,598          5                    1
00006057354     CRIXIVAN 400MG CAPSULE   29.0%      $10,368,708          9                    1
00006057362     CRIXIVAN 400MG CAPSULE   29.0%     $102,948,560          9                    1
00006093628     FOSAMAX 10MG TABLET      28.0%             $121          9                    2
00006093631     FOSAMAX 10MG TABLET      28.0%      $12,623,206          9                    5
00006093658     FOSAMAX 10MG TABLET      28.0%      $12,413,599          9                    5
00006093682     FOSAMAX 10MG TABLET      28.0%         $214,361          9                    5
00006007721     FOSAMAX 35MG TABLET      30.2%              $56          5                    2
00006007744     FOSAMAX 35MG TABLET      30.2%             $921          5                    2
00006021231     FOSAMAX 40MG TABLET      28.0%         $354,608          9                    1
00006092531     FOSAMAX 5MG TABLET       28.0%       $3,207,795          9                    4
00006092558     FOSAMAX 5MG TABLET       28.0%       $1,796,131          9                    4
00006003144     FOSAMAX 70MG TABLET      30.3%      $84,392,858          6                    4
00006074528     HYZAAR 100-12.5TABLET    37.5%               $0          1                    1
00006074531     HYZAAR 100-12.5TABLET    37.5%               $0          1                    1
00006074554     HYZAAR 100-12.5TABLET    37.5%               $0          1                    1
00006074731     HYZAAR 100-25TABLET      29.9%      $10,605,130          8                    3
00006074754     HYZAAR 100-25TABLET      31.8%       $1,639,229          3                    3
00006074758     HYZAAR 100-25TABLET      29.9%       $9,662,905          8                    3
00006074782     HYZAAR 100-25TABLET      31.8%          $54,012          3                    2
00006071731     HYZAAR 50-12.5TABLET     29.7%       $9,600,575          9                    3
00006071754     HYZAAR 50-12.5TABLET     29.7%       $2,797,263          9                    3
00006071758     HYZAAR 50-12.5TABLET     29.7%       $9,361,443          9                    3
00006071782     HYZAAR 50-12.5TABLET     30.1%         $112,131          8                    3
00006026706     MAXALT 10MG TABLET       27.4%       $6,003,533          8                    1
00006026709     MAXALT 10MG TABLET       30.1%       $1,205,659          2                    1
00006026606     MAXALT 5MG TABLET        27.6%       $1,747,027          8                    1



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  Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 15 of 16
Affidavit of Eric M. Gaier, PhD                                                                Attachment B




                                            Overall                                        Devor-reported
                                            Devor     NY Medicaid    Total years with   years with “spreads”
    NDC                       Drug          spread    expenditures   AMP & AWP data          above 30%
00006026609     MAXALT 5MG TABLET           31.4%              $0           2                    1
00006073061     MEVACOR 10MG TABLET         35.4%        $667,633           9                    6
00006073161     MEVACOR 20MG TABLET         29.1%     $19,984,110           9                    2
00006073182     MEVACOR 20MG TABLET         29.1%        $502,091           9                    2
00006073261     MEVACOR 40MG TABLET         29.8%     $12,208,766           9                    4
00006073282     MEVACOR 40MG TABLET         29.8%        $150,942           9                    4
00006353904     PEPCID 10MG/ML VIAL         48.1%         $18,347           9                    5
00006354114     PEPCID 10MG/ML VIAL         37.5%         $30,929           9                    5
00006354120     PEPCID 10MG/ML VIAL         38.9%         $12,958           8                    5
00006354149     PEPCID 10MG/ML VIAL         37.9%          $4,381           9                    5
00006353750     PEPCID 20MG PIGGYBACK       31.8%          $1,063           9                    4
00006096331     PEPCID 20MG TABLET          30.4%     $26,098,456           9                    5
00006096358     PEPCID 20MG TABLET          30.4%     $33,429,683           9                    5
00006096382     PEPCID 20MG TABLET          30.8%      $3,371,192           7                    5
00006096431     PEPCID 40MG TABLET          29.6%      $5,243,041           9                    3
00006096458     PEPCID 40MG TABLET          29.6%      $3,530,157           9                    3
00006096482     PEPCID 40MG TABLET          29.9%         $29,203           7                    2
00006353892     PEPCID 40MG/5ML ORAL SUSP   31.7%      $2,209,506           9                    2
00006355331     PEPCID RPD 20MG TABLET      28.9%         $21,441           4                    1
00006355348     PEPCID RPD 20MG TABLET      28.9%              $0           4                    1
00006355431     PEPCID RPD 40MG TABLET      30.4%              $0           5                    1
00006010631     PRINIVIL 10MG TABLET        29.7%        $299,097           9                    2
00006010654     PRINIVIL 10MG TABLET        29.6%         $11,179           4                    1
00006010658     PRINIVIL 10MG TABLET        29.7%      $5,139,473           9                    2
00006010682     PRINIVIL 10MG TABLET        28.4%        $268,538           9                    2
00006010686     PRINIVIL 10MG TABLET        24.2%              $0           6                    1
00006010687     PRINIVIL 10MG TABLET        27.1%         $24,120           9                    2
00006001531     PRINIVIL 2.5MG TABLET       30.3%         $46,241           9                    2
00006001558     PRINIVIL 2.5MG TABLET       30.3%        $263,579           9                    2
00006020731     PRINIVIL 20MG TABLET        29.2%        $303,497           9                    2
00006020754     PRINIVIL 20MG TABLET        29.8%         $29,515           4                    1
00006020758     PRINIVIL 20MG TABLET        29.2%      $4,993,239           9                    2
00006020782     PRINIVIL 20MG TABLET        27.9%        $273,803           9                    2
00006020787     PRINIVIL 20MG TABLET        26.1%          $1,804           9                    2
00006023758     PRINIVIL 40MG TABLET        29.7%      $4,655,824           9                    2
00006001954     PRINIVIL 5MG TABLET         29.9%          $4,095           4                    1
00006001958     PRINIVIL 5MG TABLET         29.9%      $2,478,836           9                    2
00006001982     PRINIVIL 5MG TABLET         28.6%         $89,666           9                    2
00006001986     PRINIVIL 5MG TABLET         28.7%              $0           8                    2
00006001987     PRINIVIL 5MG TABLET         28.6%          $6,222           9                    2
00006007231     PROSCAR 5MG TABLET          29.5%      $9,847,527           9                    4
00006007258     PROSCAR 5MG TABLET          29.5%     $18,354,838           9                    4
00006007282     PROSCAR 5MG TABLET          30.2%          $1,085           3                    3
00006011731     SINGULAIR 10MG TABLET       28.0%     $90,236,826           8                    1
00006011754     SINGULAIR 10MG TABLET       28.0%     $45,140,564           8                    1




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  Case 1:01-cv-12257-PBS Document 6574-8 Filed 10/05/09 Page 16 of 16
Affidavit of Eric M. Gaier, PhD                                                                 Attachment B




                                             Overall                                        Devor-reported
                                             Devor     NY Medicaid    Total years with   years with “spreads”
    NDC                       Drug           spread    expenditures   AMP & AWP data          above 30%
00006351935     TRUSOPT 2% EYE DROPS         29.7%         $669,505          5                    1
00006351936     TRUSOPT 2% EYE DROPS         29.8%       $1,554,508          5                    2
00006071368     VASOTEC 10MG TABLET          29.8%      $23,792,332          8                    2
00006071382     VASOTEC 10MG TABLET          29.8%         $693,897          9                    1
00006001468     VASOTEC 2.5MG TABLET         29.5%       $5,321,002          8                    1
00006071468     VASOTEC 20MG TABLET          29.3%      $20,947,856          8                    1
00006071482     VASOTEC 20MG TABLET          29.3%         $531,615          9                    1
00006071268     VASOTEC 5MG TABLET           29.7%      $20,887,809          8                    2
00006071282     VASOTEC 5MG TABLET           29.7%       $1,086,507          9                    1
00006071287     VASOTEC 5MG TABLET           28.2%               $0          8                    1
00006007431     VIOXX 12.5MG TABLET          28.8%       $1,306,082          7                    4
00006007468     VIOXX 12.5MG TABLET          28.8%      $16,381,645          7                    4
00006007482     VIOXX 12.5MG TABLET          28.8%          $43,150          7                    4
00006378464     VIOXX 12.5MG/5ML ORAL SUSP   28.0%          $98,608          7                    2
00006011031     VIOXX 25MG TABLET            28.2%      $12,055,582          7                    1
00006011068     VIOXX 25MG TABLET            28.2%     $111,823,754          7                    1
00006011082     VIOXX 25MG TABLET            28.2%       $2,776,936          7                    1
00006378564     VIOXX 25MG/5ML ORAL SUSP     28.1%         $120,864          7                    2
00006011431     VIOXX 50MG TABLET            29.3%         $135,827          6                    1
00006011468     VIOXX 50MG TABLET            29.3%       $1,389,512          6                    1
00006011474     VIOXX 50MG TABLET            29.3%             $958          6                    1
00006073528     ZOCOR 10MG TABLET            33.5%         $162,833          9                    8
00006073531     ZOCOR 10MG TABLET            35.5%       $8,129,369          5                    5
00006073554     ZOCOR 10MG TABLET            33.5%      $13,838,182          9                    8
00006073561     ZOCOR 10MG TABLET            33.1%      $16,753,353          9                    7
00006073582     ZOCOR 10MG TABLET            33.5%         $746,994          9                    8
00006074031     ZOCOR 20MG TABLET            34.3%      $53,791,981          5                    5
00006074054     ZOCOR 20MG TABLET            34.3%      $33,287,286          5                    5
00006074061     ZOCOR 20MG TABLET            31.2%      $75,436,424          9                    5
00006074082     ZOCOR 20MG TABLET            32.4%       $7,897,439          9                    7
00006074931     ZOCOR 40MG TABLET            33.8%      $38,166,494          5                    5
00006074954     ZOCOR 40MG TABLET            33.8%      $21,626,221          5                    5
00006074961     ZOCOR 40MG TABLET            30.8%      $32,574,473          9                    4
00006074982     ZOCOR 40MG TABLET            33.8%       $1,489,674          5                    5
00006072631     ZOCOR 5MG TABLET             35.9%         $661,941          5                    5
00006072654     ZOCOR 5MG TABLET             35.4%       $1,300,178          9                    9
00006072661     ZOCOR 5MG TABLET             34.1%       $2,273,991          9                    7
00006072682     ZOCOR 5MG TABLET             35.9%             $578          5                    3
00006054331     ZOCOR 80MG TABLET            33.5%       $5,604,603          5                    5
00006054354     ZOCOR 80MG TABLET            33.5%       $2,530,505          5                    5
00006054361     ZOCOR 80MG TABLET            31.0%       $2,398,187          7                    4
00006054382     ZOCOR 80MG TABLET            33.5%           $1,147          5                    2




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